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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE MIDDLE DISTRICT OF ALABAMA
                                NORTHERN DIVISION

UNITED STATES OF AMERICA                      )
                                              )
       v.                                     )       CASE NO. 2:17cr00005-WHA
                                              )
RAPHAEL LAMAR GASTON                          )

                              FINAL ORDER OF FORFEITURE

       WHEREAS, on April 28, 2017, this Court entered a Preliminary Order of Forfeiture

forfeiting defendant’s interest in the following property to the United States: 21 rounds of .57

caliber ammunition. (Doc. #72);

       WHEREAS, publication of notice was not required pursuant to Rule G(4)(a) of the

Supplemental Rules for Admiralty or Maritime Claims and Asset Forfeiture Actions as the

property is worth less than $1,000 and the only potential claimant is the defendant.           The

government gave defendant notice in the Indictment that it would seek the forfeiture of all property

involved in the commission of the offenses in violation of 21 U.S.C. § 841(a)(1) and 18 U.S.C. §§

922(g)(1) and 924(c)(1)(A)(i); and,

       WHEREAS, the Court finds that defendant Gaston has an interest in the property that is

subject to forfeiture pursuant to 21 U.S.C. § 853. The United States has established the requisite

nexus between such property in the commission of the offenses in violation of 21 U.S.C. §

841(a)(1).

       IT IS HEREBY ORDERED that the United States’ Motion for a Final Order of

Forfeiture is GRANTED as follows:

       1.      The following property is hereby forfeited to the United States pursuant to 21

U.S.C. § 853: 21 rounds of .57 caliber ammunition.
                                                  1
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       2.      All right, title and interest to the property described above is hereby condemned,

forfeited and vested in the United States and shall be disposed of according to law;

       3.      The United States District Court shall retain jurisdiction in the case for the purpose

of enforcing this Order; and,

       4.      The Clerk of the Court shall forward a certified copy of this Order to the United

States Attorney’s Office.

       SO ORDERED this the 8th day of August, 2017.




                                              /s/ W. Harold Albritton
                                                UNITED STATES DISTRICT JUDGE




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